Case 3:18-cv-00428-DMS-MDD Document 418 Filed 06/06/19 PageID.6107 Page 1 of 4



        Lee Gelernt*                              Bardis Vakili (SBN 247783)
   1    Judy Rabinovitz*                          ACLU FOUNDATION OF SAN
        Anand Balakrishnan*                       DIEGO &
   2    Dan Galindo (SBN 292854)                  IMPERIAL COUNTIES
        AMERICAN CIVIL LIBERTIES                  P.O. Box 87131
   3    UNION FOUNDATION                          San Diego, CA 92138-7131
        IMMIGRANTS’ RIGHTS PROJECT                T: (619) 398-4485
   4    125 Broad St., 18th Floor                 F: (619) 232-0036
        New York, NY 10004                        bvakili@aclusandiego.org
   5    T: (212) 549-2660
        F: (212) 549-2654                         Stephen B. Kang (SBN 292280)
   6    lgelernt@aclu.org                         Spencer E. Amdur (SBN 320069)
        jrabinovitz@aclu.org                      AMERICAN CIVIL LIBERTIES
   7    abalakrishnan@aclu.org                    UNION FOUNDATION
                                                  IMMIGRANTS’ RIGHTS PROJECT
   8    Attorneys for Petitioners-Plaintiffs      39 Drumm Street
        *Admitted Pro Hac Vice                    San Francisco, CA 94111
   9                                              T: (415) 343-1198
                                                  F: (415) 395-0950
  10                                              skang@aclu.org
                                                  samdur@aclu.org
  11

  12
                            UNITED STATES DISTRICT COURT
  13                      SOUTHERN DISTRICT OF CALIFORNIA

  14
       Ms. L., et al.,                                  Case No. 18-cv-00428-DMS-MDD
  15
                             Petitioners-Plaintiffs,
  16   v.
                                                        Date Filed: June 6, 2019
  17   U.S. Immigration and Customs Enforcement
       (“ICE”), et al.,
  18                                                    NOTICE OF MOTION AND
                                                        MOTION TO ALLOW
  19                          Respondents-Defendants.   PARENTS DEPORTED
                                                        WITHOUT THEIR CHILDREN
  20                                                    TO TRAVEL TO THE UNITED
                                                        STATES
  21

  22

  23

  24

  25

  26

  27

  28
Case 3:18-cv-00428-DMS-MDD Document 418 Filed 06/06/19 PageID.6108 Page 2 of 4



   1         Plaintiffs respectfully move that the Court to order the government to allow
   2   21 parents who were separated from their children and deported to travel to the
   3   United States to obtain an opportunity to reunify with their children, who remain in
   4   the United States.
   5         Plaintiffs’ Motion is based on this Notice of Motion and Motion and the
   6   concurrently-filed Memorandum and exhibits in support; all papers, pleadings,
   7   records, and files in this case; all matters of which judicial notice may be taken; and
   8   such other arguments and/or evidence as may be presented to this Court at a hearing
   9   on this Motion.
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28

                                                 1
                                                                                     18cv0428
Case 3:18-cv-00428-DMS-MDD Document 418 Filed 06/06/19 PageID.6109 Page 3 of 4



       Dated: June 6, 2019                 Respectfully Submitted,
   1
                                           /s/Lee Gelernt
   2
       Bardis Vakili (SBN 247783)          Lee Gelernt*
   3   ACLU FOUNDATION OF SAN              Judy Rabinovitz*
       DIEGO & IMPERIAL COUNTIES           Anand Balakrishnan*
   4   P.O. Box 87131                      AMERICAN CIVIL LIBERTIES
       San Diego, CA 92138-7131            UNION FOUNDATION
   5   T: (619) 398-4485                   IMMIGRANTS’ RIGHTS PROJECT
       F: (619) 232-0036                   125 Broad St., 18th Floor
   6   bvakili@aclusandiego.org            New York, NY 10004
                                           T: (212) 549-2660
   7   Stephen B. Kang (SBN 2922080)       F: (212) 549-2654
       Spencer E. Amdur (SBN 320069)       lgelernt@aclu.org
   8   AMERICAN CIVIL LIBERTIES            jrabinovitz@aclu.org
       UNION FOUNDATION                    abalakrishnan@aclu.org
   9   IMMIGRANTS’ RIGHTS PROJECT
       39 Drumm Street
  10   San Francisco, CA 94111             *Admitted Pro Hac Vice
       T: (415) 343-1198
  11   F: (415) 395-0950
       skang@aclu.org
  12   samdur@aclu.org
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28

                                           2
                                                                         18cv0428
Case 3:18-cv-00428-DMS-MDD Document 418 Filed 06/06/19 PageID.6110 Page 4 of 4



                                 CERTIFICATE OF SERVICE
   1
   2         I hereby certify that on June 6, 2019, I electronically filed the foregoing with
   3   the Clerk for the United States District Court for the Southern District of California
   4   by using the appellate CM/ECF system. A true and correct copy of this brief has
   5   been served via the Court’s CM/ECF system on all counsel of record.
   6                                                 /s/ Lee Gelernt
   7                                                 Lee Gelernt, Esq.
                                                     Dated: June 6, 2019
   8
   9
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28

                                                 3
                                                                                    18cv0428
